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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  _________________________________________________

  LIHUA GAN, PU GAO, YASHU LI, RUIMIN LIU, NA
  TANG, KAIQIN WANG, WEISHAN WEN, XINGQIN                         NOTICE OF APPEARANCE
  WEN, DONG YAN, SIYUN YAN, XINLIN YANG,
  JINCHUN LI, GUOYONG MA, and LIJUAN YANG,                        Civil Action No. 1:24-cv-04234-RER

                        PlaintiffS,

                  v.

  GSUIG REAL ESTATE MEMBERS LLC, WEBSTER
  BANK, N.A. F/K/A STERLING NATIONAL BANK,
  EMPIRE OUTLET MANAGEMENT, LLC, and BFC
  PARTNERS, LLC,

                    DefendantS.
  _________________________________________________



          PLEASE TAKE NOTICE, that Joseph B. Schmit, Esq. of Phillips Lytle LLP,

 hereby appears in this action as counsel for defendant Empire Outlet Management, LLC,

 and requests that all papers, pleadings, notices, orders and all other related documents in

 this lawsuit be served upon the undersigned.

 Dated: August 9, 2024

                                                    PHILLIPS LYTLE LLP


                                            By:     _/s/ Joseph B. Schmit__________
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